3/12/24, 9:01 AM EXHIBIT 2 - Doc#139-2
          23-03004-cgb       EMAIL FROM Re:
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                                            PDG 05/28/25      Entered
                                                Prestige - WKPZ         05/28/25
                                                                engagement             18:09:38
                                                                           letter for Chapter           Exhibit
                                                                                              11 - Jeff Carruth    2. Email from
                                                                                                                - Outlook
                DIXSON TO CARRUTH
                (2.15.21)
                                                  Dixson to Carruth Pg 1 of 5
       Re: PDG Prestige - WKPZ engagement letter for Chapter 11
       Michael Dixson <mike@pdgnm.com>
       Mon 2/15/2021 3:58 PM

       To:Jeff Carruth <jcarruth@wkpz.com>
       I agree to engagement letter

       Get Outlook for iOS

       From: Jeff Carruth <jcarruth@wkpz.com>
       Sent: Monday, February 15, 2021 2:50:21 PM
       To: Michael Dixson <mike@pdgnm.com>
       Subject: PDG Prestige - WKPZ engagement letter for Chapter 11


               Mike — Please see attached and text below.
               Please review and if acceptable reply with "I AGREE TO
               ENGAGEMENT LETTER" now and then sign and scan back to me
               as soon as possible.
               Please see especially the SPECIAL PROVISIONS section at the
               bottom.


                                                         February 15, 2021

               PDG Prestige, Inc.
               c/o Michael Dixson,
               780 N. Resler Drive Suite B
               El Paso TX 79912

                        Re:     Chapter 11 bankruptcy for Las Cruces project (the "Matter")

               Dear PDG Prestige, Inc.:

                       Thank you for selecting our firm to represent PDG Prestige, Inc. in connection with
               the above-referenced Matter.

                        General provisions

                        As part of our procedure in opening new files, we feel that it is important to provide an
               engagement letter to our clients, the purpose of which is to generally set forth our
               understanding of the legal services to be rendered, and the basis upon which we are to be paid
               for those services. This letter comprises our agreement, the understanding between you and
               this firm of the services we will render on your behalf, and the fees you agree to pay for those
               services. Please review this letter carefully and let me know promptly if you have any
               questions regarding any aspect of our representation, this agreement, or our fees and charges.
               Unless and until this letter is modified in writing by mutual agreement of the parties, this letter
               will reflect the terms of our agreement regarding the above matter and any other services we
                                              PR,,
               may render for you in the futur.e
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                                                                          letter for Chapter           Exhibit
                                                                                             11 - Jeff Carruth    2. Email from
                                                                                                               - Outlook
                                              Dixson      to Carruth  Pg   2  of   5
                      Your primary contact at this firm is the undersigned. You are free to request a change
              of attorney working on your file at any time. It is important that you also understand that the
              attorney you work with in this firm may assign portions of your matter to other lawyers or
              other personnel (such as legal assistants) in this office under his or her supervision and may use
              or consult with other firm lawyers where specialized help is needed. The undersigned will
              continue to be responsible to you for the entire assignment. I am available at all times to
              discuss the use of other personnel with you.




                       The members of this firm will, at all times, act on your behalf to the best of our
              ability. Any expressions on our part concerning the outcome of your legal matters are
              expressions of our best professional judgment; however, we cannot, and do not, guarantee the
              outcome in any matter. Such opinions are necessarily limited by our knowledge of the facts at
              the time, the accuracy of the information which is furnished to us, and based on the state of the
              law at the time they are expressed.

                       From time to time, you may ask our advice regarding federal tax issues. Please be
              aware that the Internal Revenue Service ("IRS") does not allow you to rely on informal tax
              advice rendered before you file your tax return to avoid tax penalties. If you want to rely on
              our federal tax advice to avoid penalties, the IRS requires us to issue formal written tax opinion
              regarding the tax issue(s). The IRS rules also prohibit someone else from using the advice we
              provide to you. Please consult with the attorney in charge of your account for details or if you
              desire a formal legal opinion regarding tax issues.

                      The firm's hourly rates are changed periodically (usually at the beginning of each
              calendar year) based on such factors as inflation and the increased experience and expertise of
              individual attorneys performing the services. We are mindful of the cost of legal services and
              will always attempt to use associates, legal assistants, and law clerks whenever appropriate to
              keep the cost of our services as low as possible.

                       Our procedure is to bill promptly after the first of the month for services rendered and
              disbursements incurred (copying expense, long distance telephone calls, travel, fax and other
              out-of-pocket charges). In litigation matters, we include payments we must make for process
              service, court reporters (depositions), witness fees, and other charges related to the litigation.
              We also make separate charges for the use of "Lexis" or "Westlaw," which are computerized
              legal research systems, which, in our experience, can serve to reduce lawyer research time. We
              may also request that significant disbursement items be billed directly to you for payment or
              paid to us in advance of the time that such services for such items are incurred.

                       We are currently requesting a retainer in the amount of M.,000 (the "Retainer"). Our
              policy on representation in connection with new clients is to require an advance Retainer.
              Such Retainer would be an advance that we will credit against any work that we do for you.
              When the Retainer is exhausted, we may request that you replenish the Retainer before
              continuing with further work. In addition, we may require additional Retainers if necessary.
              At this time, because of the prior relationship between you and the firm we are not requesting a
              Retainer, although we may request a retainer in the future. Please note the credit card payment
              button under "PAY NOW" at wwwwkpz.com as well as the credit card authorization form and
              the wire instructions that accompany this letter.

                      In the event we are representing an entity in which you have an ownership position, we
              are doing so on the express condition that, upon your execution of this letter, you agree to be
              personally responsible for the obligations of such entity to this firm. (However, this guaranty
              will not apply during the period(s) of time that we are required to be disinterested under the
              Bankruptcy Code to represellittakititoi4 iv &i                blianIrptcy case).
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                                                                        letter for Chapter           Exhibit
                                                                                           11 - Jeff Carruth    2. Email from
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                                            Dixson      to Carruth  Pg   3  of   5
                      Payment on any outstanding balance to the firm is due thirty (30) days after the date of
              our invoice. If we do not receive comment about such invoice within thirty (30) days of the
              invoice date, we will assume that you have reviewed the bill and find it acceptable. Invoices
              that remain unpaid after thirty (30) days will be subject to a late charge of 1.5 percent per
              month (18% per annum) on the unpaid balance commencing from the date of the invoice and
              continuing until paid. Please make your payment (in U.S. dollars) to "Weycer, Kaplan, Pulaski
              & Zuber, P.C." If any of our invoices remain unpaid for more than thirty (30) days from the
              date thereon, we may, consistent with our ethical obligations and judicial requirements, cease
              performing services for you, and withdraw from your case unless and until arrangements
              satisfactory to us have been made for payment of arrearages and prospective future fees.

                      ANY AND ALL DISPUTES WHICH MAY ARISE UNDER THIS FEE
              AGREEMENT AND IN CONNECTION WITH THE FIRM'S FEE ENGAGEMENT ON
              THIS MATTER (AND FUTURE MATTERS) SHALL BE RESOLVED SOLELY BY
              ARBITRATION AND IN ACCORDANCE WITH THE COMMERCIAL RULES OF THE
              AMERICAN ARBITRATION ASSOCIATION (ALTHOUGH THE PARTIES MAY
              MUTUALLY AGREE UPON A DIFFERENT TRIBUNAL TO ARBITRATE ANY SUCH
              DISPUTE). Texas law shall govern the engagement of the firm. Venue for any dispute shall
              be the courts of Tarrant County, Texas.

                       The firm reserves the right to withdraw this engagement letter at any time prior
              to your execution of this letter and the receipt of the Retainer. Furthermore, this
              engagement letter shall be considered to be withdrawn by the firm without further action
              or communication if, within ten (10) days of this date of this letter, (i) this letter is not
              signed and returned in the manner described below and (ii) the Retainer is not provided
              to the firm. Time is of the essence.

                       Subsequent to the execution of this letter and the payment of the Retainer, the firm
              may withdraw from the representation on account of the non-payment of fees and expenses, or
              the failure to provide any further retainer requested by the firm, as provided in this letter.

                      If our engagement extends beyond the initial engagement matter, this letter shall also
              apply as if such letter was specifically prepared for such subsequent matters handled by our
              firm.

                      The firm at its discretion also may maintain some or all of its files for this matter in
              electronic format and discard paper copies of items after the items are scanned or imaged and
              saved for future use.

                      We communicate primarily through email messages and telephone communications.
              The use of SMS or text messages is discouraged due to ethical concerns and record keeping.

                      If you have any questions at all about any aspect of our representation, our fee
              arrangement, statements, or invoices, please feel free to contact the undersigned. We make
              every attempt to be fair in our billing. Therefore, if you have any concerns with our fees,
              please help us resolve any problems you may have. It is important to us that we proceed on a
              mutually clear and satisfactory basis in our work for you. We welcome discussion of all of the
              matters contained herein, and we encourage you to be forthright with us. Otherwise, if this
              engagement letter is acceptable to you, please sign and date in the space provided, and return
              as soon as possible this letter bearing your original signature in ink.

                      Special provisions

              The payment of the fees of the firm after the filing of the petition may be subject to the
              provisions of the Bankruptcy Code and approval by the applicable court.
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                                                                  letter for Chapter           Exhibit
                                                                                     11 - Jeff Carruth    2. Email from
                                                                                                       - Outlook
                                      Dixson      to Carruth  Pg   4  of
              WE ARE FILING AN EMERGENCY BANKRUPTCY PETITION TODAY BASED   5
              UPON THE $1,000 PREVIOUSLY PAID FOR THIS ENTITY, AND THE $1,800 WE
              EXPECT TO RECEIVE TODAY FOR THE FILING FEE.

              WE WILL NOT FILE THE BANKRUPTCY CASE UNTIL WE RECEIVE THE $1,800
              TO COVER THE FILING FEE.

              WE WILL TAKE NO FURTHER ACTION IN THE BANKRUPTCY CASE AND WE
              WILL FULFILL NO DEADLINES UNLESS AND UNTIL YOU PAY THE $24,000
              INITIAL RETAINER. THIS MEANS THE CASE COULD BE DISMISSED OR OTHER
              ADVERSE ACTION COULD OCCUR IF WE DO NOT RECEIVE PAYMENT

              WE ALSO RESERVE THE RIGHT TO WITHDRAW FROM THE BANKRUPTCY
              CASE IF AND UNTIL YOU PAY THE $24,000 INITIAL RETAINER.



                                              {continued on following sheet]




              Again, thank you for selecting our firm for your legal representation.

                                                           Very truly yours,

                                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.




                                                           By:
                                                                 Jeff Carruth


              AGREED and ACCEPTED this                 day of                   , 2021:


               PDG Prestige, Inc.




              By:
                     Michael Dixson


              AGREED/GUARANTOR




              Michael Dixson

              PAYMENT INFORMATION:

              CREDIT CARD PAYMENT URL: https://wwwwkpz.com/pay now.php

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                                                                                                      11 - Jeff Carruth    2. Email from
                                                                                                                        - Outlook
                                                       Dixson to Carruth Pg 5 of 5
                    Wire instructions appear below.
                   PLEASE SEND RETAINER AND PAYMENT CHECKS TO:
                   WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                   Attn. Linda Duke
                   24 Greenway Plaza, Suite 2050
                   Houston, Texas 77046




        Jeff Carruth


                                                               Trusted Legal Advisors Since 1976

       DALLAS ■ HOUSTON ■ AMARILLO
       D. (713) 341-1158
       M. (214) 552-7242
       F. (866) 666-5322

       jcarruth@wkpz.com
       www.wkpz.com


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       and maintains any attorney-client privilege or work-product protections in this communication.




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